                Case: 25-1677, 05/21/2025, DktEntry: 42.1, Page 1 of 4




                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


 AMERICAN FEDERATION OF
  GOVERNMENT EMPLOYEES, et al.,
         Plaintiffs-Appellees,

                          v.                                 Nos. 25-1677, 25-2637

 UNITED STATES OFFICE OF PERSONNEL
  MANAGEMENT, et al.,
         Defendants-Appellants,


               MOTION TO CLARIFY BRIEFING SCHEDULE

      Pursuant to Federal Rule of Appellate Procedure 27, the defendants-appellants

respectfully move to clarify the briefing schedule for these consolidated appeals to

provide for filing consolidated excerpts of record.

      1. On April 10, 2025, the government filed its opening brief and excerpts of

record for the first appeal, Case No. 25-1677.

      2. On April 29, 2025, the parties filed a joint motion to consolidate Case Nos.

25-1677 and 25-2637, and proposed a briefing schedule. As relevant here, the parties

proposed for the government to: file an opening brief in the second appeal, Case No.

25-2637, on May 22, 2025; withdraw the excerpts of record filed in the first appeal,

Case No. 25-1677; file a consolidated excerpts of record for both appeals on May 22,

2025; and file a corrected opening brief for the first appeal, Case No. 25-1677, with

citations to the consolidated excerpts of record. Joint Mot. to Consolidate 2.
                Case: 25-1677, 05/21/2025, DktEntry: 42.1, Page 2 of 4




      2. On May 12, the Court granted the parties’ joint motion in part. The Court

consolidated the appeals, and ordered the government to file a supplemental opening

brief by May 22, 2025. The Court’s order did not address the parties’ request to file

consolidated excerpts of record for the two appeals.

      3. The government respectfully requests that the Court clarify whether the

government should withdraw the previously filed excerpts of record and file

consolidated excerpts of record for the consolidated appeals.

                                        Respectfully submitted,

                                               COURTNEY L. DIXON

                                               /s/ Casen B. Ross
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May 2025




                                           2
                Case: 25-1677, 05/21/2025, DktEntry: 42.1, Page 3 of 4




                     CERTIFICATION OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I hereby certify this motion complies with

the requirements of Fed. R. App. P. 27(d)(1)(E) because it has been prepared in 14-

point Garamond, a proportionally spaced font, and that it complies with the type-

volume limitation of Fed. R. App. P. 27(d)(2)(A), because it contains 239 words,

according to the count of Microsoft Word.

                                                     /s/ Casen B. Ross   .
                                                     CASEN B. ROSS
               Case: 25-1677, 05/21/2025, DktEntry: 42.1, Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that on May 21, 2025, I electronically filed the foregoing with

the Clerk of the Court by using the appellate CM/ECF system. Participants in the

case are registered CM/ECF users and service will be accomplished by the appellate

CM/ECF system.

                                                      /s/ Casen B. Ross    .
                                                      CASEN B. ROSS
